                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                 CRIMINAL NO. 3:05Cr104-20


 UNITED STATES OF AMERICA,                     )
                                               )
                 Plaintiff,                    )
                                               )            ORDER DENYING BOND
        vs.                                    )
                                               )
 GRADY DONNELL EADES,                          )
                                               )
                 Defendant.                    )

       THIS MATTER is before the Court on Defendant GRADY DONNELL EADES’ Motion for

Bond Review. Because the Defendant is guilty of a Controlled Substances Act offense with a

maximum term of ten years or more, section 3143(a)(2) of the Bail Reform Act of 1984 mandates

that the defendant “be detained” while “awaiting imposition . . . of sentence” unless

       (A)(1) the judicial officer finds there is a substantial likelihood that a motion for
              acquittal or new trial will be granted; or

             (2) an attorney for the government has recommended that no sentence of
                 imprisonment be imposed; and

       (B)      the judicial officer finds by clear and convincing evidence that the person is
                not likely to flee or pose a danger to any person or the community.

18 U.S.C. § 3143(a)(2) (bold and italics added); see also 18 U.S.C. § 3142(f)(1)(C).

       Because the Defendant pled guilty, it is clear that there is no likelihood that a motion for

acquittal or new trial will be granted. 18 U.S.C. § 3142(a)(2)(A)(1). Likewise, no attorney from the

government has indicated that the defendant should receive “no sentence of imprisonment.” 18

U.S.C. § 3142(a)(2)(A)(2). Because Congress used the conjunctive “and” between subsections

3142(a)(2)(A) and 3142(a)(2)(B) and since the Defendant can not meet either sub-subsection



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3142(a)(2)(A)(1) or (A)(2), there is no reason to even address section 3142(a)(2)(B). Thus the Bail

Reform Act mandates his continued custody, regardless of any changed circumstances or any

personal or family matters.

       THEREFORE Defendant’s Motion is DENIED.

                                                Signed: April 20, 2007




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